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Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

TEVRA BRANDS LLC, Case No. 19-cv-04312-BLF

Plaintiff,

¥ VERDICT FORM

BAYER HEALTHCARE LLC, et al.,
Defendants.

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We, the jury, unanimously find as follows:

I. Market Definition — Sherman Act, Section 2 and Clayton Act, Section 3
1. Did Tevra Brands, LLC (“Tevra”) prove, by a preponderance of the evidence and in
accordance with the instructions given to you, that the relevant antitrust market is topical
imidacloprid flea and tick products for dogs and cats in the United States?
Yes__—__s(“Yes” is a finding for Tevra)

No _X (“No” is a finding for Bayer)

If you answered “Yes” to Question 1, proceed to Question 2.
If you answered “No” to Question 1, do not answer any further questions. Proceed to the last

page to date and sign the form.

Il. Clayton Act, Section 3
2. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer possessed market power in the relevant antitrust market?
Yes___—_—s(““Yes” is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 2, proceed to Question 3.
If you answered “No” to Question 2, do not answer any further questions. Proceed to the last

page to date and sign the form.

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3. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer’s contracts for the sale of imidacloprid topical flea and tick products
constituted de facto long term exclusive dealing contracts?

Yess (“Yes” isa finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 3, proceed to Question 4.

If you answered “No” to Question 3, do not answer Questions 4-6, and proceed to Question 7.

4. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer’s de facto long term exclusive dealing contracts substantially
foreclosed competition in the relevant antitrust market?

Yes___—s(“Yes” is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 4, proceed to Question 5.

If you answered “No” to Question 4, do not answer Questions 5-6, and proceed to Question 7.

5. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that the competitive harms associated with Bayer’s de facto long term exclusive
dealing contracts outweigh the competitive benefits?

Yes __—_—_—s “Yes” is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 5, proceed to Question 6.

If you answered “No” to Question 5, do not answer Question 6, and proceed to Question 7.

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6. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer’s de facto long term exclusive dealing contracts caused Tevra to
suffer antitrust injuries to its business or property between June 19, 2017 and July 31, 2020?

Yes__—__—s (“Yes is a finding for Tevra)

No (“No” is a finding for Bayer)
Proceed to Question 7.

I. Sherman Act, Section 2
7. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer possessed monopoly power in the relevant antitrust market?
Yess “Yess” is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 7, proceed to Question 8.

If you answered “No” to Question 7, proceed to Question 10.

8. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer willfully maintained monopoly power through anticompetitive acts
or practices in the relevant antitrust market?

Yes__—_—s (“Yes is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 8, proceed to Question 9,

If you answered “No” to Question 8, proceed to Question 10.

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9. Did Tevra prove, by a preponderance of the evidence and in accordance with the instructions
given to you, that Bayer’s willful maintenance of monopoly power caused Tevra to suffer
antitrust injuries to its business or property between June 19, 2017 and July 31, 2020?

Yes___s(“Yes” is a finding for Tevra)

No (“No” is a finding for Bayer)

If you answered “Yes” to Question 6 or Question 9, proceed to Question 10.
If you answered “No” to Question 6 and Question 9, do not answer Question 10. Proceed to date

and sign the form below.

IV. Damages

Please only answer Question 10 if you’ve answered “Yes” to either Question 6 or Question 9.

10. What is the total amount of damages that Tevra has proved by a preponderance of the evidence
that Bayer caused Tevra between June 19, 2017 and July 31, 2020?
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Please date and sign below.

Presiding Juror: H ANS ~1H EO J u NO E BL UT

Dated: QE! {2029

